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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-22
                       Plaintiff,
9
                                               FINAL ORDER OF FORFEITURE
                 v.
10

11    JACOB SUBLIE (22),

12                     Defendant.
13

14
          Before the Court, without oral argument, is the United States
15
     Attorneys’ Office’s (USAO) Motion for Entry of the Final Order of
16
     Forfeiture (ECF No. 2628).         On October 5, 2010, the Court entered a
17
     Preliminary Order of Forfeiture (ECF No. 2385), pursuant to 21 U.S.C. §
18
     853, preliminarily forfeiting to the United States 1) $59,400.00 U.S.
19
     Currency seized on or about July 25, 2008; and 2) $7,245.00 U.S. Currency
20
     seized on or about February 24, 2009.           Defendant Jacob Sublie forfeited
21

22   his interest in this property to the United States pursuant to the Plea

23   Agreement (ECF No. 1447) and Judgment (ECF No. 2610).

24        Section 853(n) and Federal Rule of Criminal Procedure 32.2 require

25   the resolution of all third-party claims to the property in a final order
26   of forfeiture.    Notice of Criminal Forfeiture was posted on an official


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1    government internet site (www.forfeiture.gov) for at least thirty (30)
2    consecutive days, beginning on October 6, 2010, and ending November 4,
3    2010, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for
4    Admiralty    or   Maritime    Claims     and    Asset     Forfeiture     Actions,   as
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     incorporated by 21 U.S.C. § 853(n).             At the latest, the claim period
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     expired on November 11, 2010.       No claims have been filed.           Accordingly,
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     IT IS HEREBY ORDERED:
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          1.     The USAO’s Motion for Entry of the Final Order of Forfeiture
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     (ECF No. 2628) is GRANTED.
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11        2.     The $59,400.00 of U.S. Currency seized on or about July 25,

12   2008, and $7,245.00 of U.S. Currency seized on or about February 24,

13   2009, is forfeited to the United States; no interest exists in any other

14   person.
15        3.     The United States shall dispose of this property in accordance
16   with law.
17        IT IS SO ORDERED. The District Court Executive is directed to enter
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     this Order and to provide copies to all counsel.
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          DATED this      14th       day of January 2011.
20

21
                                      s/Edward F. Shea
22                                   EDWARD F. SHEA
                              United States District Judge
23

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